       Case 2:13-cr-00257-APG-PAL Document 380 Filed 09/18/20 Page 1 of 3




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 2   Nevada State Bar No. 11479
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 6
                            UNITED STATES DISTRICT COURT
 7
                                 DISTRICT OF NEVADA
 8
 9
     United States of America,                    Case No. 2:13-cr-00257-APG-PAL-4
10
                    Plaintiff,                    Fourth Stipulation to Continue
11
                                                  Revocation Hearing
           v.
12
     Jose Flores,
13
                    Defendant.
14
15
16         The parties jointly request that this Court vacate September 22, 2020,

17   revocation hearing and continue it for at least 30 days. In response to the

18   coronavirus pandemic, this District has entered General Orders 2020-02, -03, -04,

19   and -05 to limit in-court appearance, though in-person hearings for out-of-custody

20   defendants have slowly started to resume. This continuance is appropriate

21   because, due to Flores’s compliance and absent additional violations, the

22   government and Probation do not intend to seek revocation.1 Flores is not in

23   custody and agrees to the continuance.

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           The petition alleges that Flores missed three drug tests between
           1
     December 24, 2019, and February 24, 2020.
      Case 2:13-cr-00257-APG-PAL Document 380 Filed 09/18/20 Page 2 of 3




 1        DATED: September 18, 2020.
 2
     Rene L. Valladares                  Nicholas A. Trutanich
 3   Federal Public Defender             United States Attorney

 4     /s/ Erin Gettel                     /s/ Susan Cushman
     By_____________________________     By_____________________________
 5
     Erin Gettel                         Susan Cushman
 6   Assistant Federal Public Defender   Assistant United States Attorney
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       Case 2:13-cr-00257-APG-PAL Document 380 Filed 09/18/20 Page 3 of 3




 1                          UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA
 3
 4
     United States of America,                    Case No. 2:13-cr-00257-APG-PAL-4
 5
                    Plaintiff,                    Order Granting Fourth
 6
                                                  Stipulation to Continue
 7         v.                                     Revocation Hearing
 8   Jose Flores,
 9                  Defendant.
10
11
12         Based on the stipulation of counsel, the Court finds that good cause exists
13   to continue the revocation hearing.
14         IT IS THEREFORE ORDERED that the revocation hearing currently
15   scheduled for September 22, 2020, at 9:30 a.m. is vacated and continued to
16   October 27, 2020 at 1:00 p.m. in courtroom 6C.
17         DATED: September 18th, 2020.
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19
                                           Andrew P. Gordon
20                                         United States Disrict Judge
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